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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                           NORTHEASTERN DIVISION

TROY T. WILLIAMS,                               )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )    Civil Action No. 5:17-CV-01216-CLS
                                                )
CAPITAL ONE BANK (USA),                         )
N.A., and   EQUIFAX                             )
INFORMATION SERVICES,                           )
INC.,                                           )
                                                )
       Defendants.                              )

                               MEMORANDUM OPINION

       Plaintiff, Troy Williams, who is proceeding pro se, filed a Second Amended

Complaint on October 17, 2017, asserting a claim against defendant, Capital One

Bank (USA), N.A. (“Capital One”), for violation of the Fair Credit Reporting Act, 15

U.S.C. § 1681 et seq. (“FCRA”).1 The case currently is before the court on Capital

One’s motion to dismiss the Second Amended Complaint pursuant to Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6).2 Upon consideration of the motion and




       1
         Doc. no. 57 (Second Amended Complaint). The Second Amended Complaint also asserted
an FCRA claim against defendant Equifax Information Services, Inc. (“Equifax”), as well as state
law claims for invasion of privacy; negligent, wanton and/or intentional hiring and supervision; and,
publishing false and defamatory information. See id. None of plaintiff’s claims against Equifax are
addressed in this opinion.
       2
           Doc. no. 68 (Defendant Capital One’s Motion to Dismiss Second Amended Complaint).
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plaintiff’s response thereto,3 the court concludes that the motion should be granted.

                               I. STANDARDS OF REVIEW

A.     Rule 12(b)(1) — Dismissal for Lack Of Subject Matter Jurisdiction

       Federal district courts are tribunals of limited jurisdiction, “‘empowered to hear

only those cases within the judicial power of the United States as defined by Article

III of the Constitution,’ and which have been entrusted to them by a jurisdictional

grant authorized by Congress.” University of South Alabama v. The American

Tobacco Co., 168 F.3d 405, 409 (11th Cir. 1999) (quoting Taylor v. Appleton, 30

F.3d 1365, 1367 (11th Cir. 1994)). Accordingly, an “Article III court must be sure

of its own jurisdiction before getting to the merits” of any action. Ortiz v. Fiberboard

Corp., 527 U.S. 815, 831 (1999) (citing Steel Co. v. Citizens for a Better

Environment, 523 U.S. 83, 88-89 (1998)).

       A motion to dismiss a case for lack of subject matter jurisdiction is governed

by Federal Rule of Civil Procedure 12(b)(1).4 When ruling upon a Rule 12(b)(1)

motion asserting a lack of jurisdiction on the face of the plaintiff’s complaint, the

court must consider the allegations of the complaint as true. See Williamson v.




       3
           Doc. no. 72 (Plaintiff’s Response to Capital One’s Motion to Dismiss).
       4
         Rule 12(b)(1) provides that “a party may assert the following defenses by motion: (1) lack
of subject-matter jurisdiction. . . .” Fed. R. Civ. P. 12(b)(1).

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Tucker, 645 F.2d 404, 412 (5th Cir. 1981) (citations omitted).5 On the other hand, “a

‘factual attack’ on subject matter jurisdiction ‘challenge[s] the existence of subject

matter jurisdiction in fact, irrespective of the pleadings, and matters outside the

pleadings, such as testimony and affidavits are considered.’” Douglas v. United

States, 814 F.3d 1268, 1278 (11th Cir. 2016) (quoting In re CP Ships Ltd. Securities

Litigation, 578 F.3d 1306, 1311-12 (11th Cir. 2009), abrogated on other grounds by

Morrison v. National Australia Bank Ltd., 561 U.S. 247 (2010)) (alteration in

original).

B.     Rule 12(b)(6) — Dismissal for Failure To State A Claim Upon Which Relief
       Can Be Granted

       Federal Rule of Civil Procedure 12(b)(6) permits a party to move to dismiss a

complaint for “failure to state a claim upon which relief can be granted.” Fed. R. Civ.

P. 12(b)(6). This rule must be read together with Rule 8(a), which requires that a

pleading contain only a “short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). While that pleading standard

does not require “detailed factual allegations,” Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 550 (2007), it does demand “more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

       5
         In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down prior to
the close of business on September 30, 1981.

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(citations omitted).6

       6
         The Supreme Court elaborated the requirement that a complaint contain “more than an
unadorned, the-defendant-unlawfully-harmed-me accusation” in Ashcroft v. Iqbal, 556 U.S. 662
(2009), when observing that:

       A pleading that offers “labels and conclusions” or “a formulaic recitation of the
       elements of a cause of action will not do.” [Bell Atlantic Corp. v. Twombly, 550 U.S.
       544, 555 (2007)]. Nor does a complaint suffice if it tenders “naked assertion[s]”
       devoid of “further factual enhancement.” Id., at 557.

               To survive a motion to dismiss founded upon Federal Rule of Civil Procedure
       12(b)(6), [for failure to state a claim upon which relief can be granted], a complaint
       must contain sufficient factual matter, accepted as true, to “state a claim for relief that
       is plausible on its face.” Id., at 570. A claim has facial plausibility when the plaintiff
       pleads factual content that allows the court to draw the reasonable inference that the
       defendant is liable for the misconduct alleged. Id., at 556. The plausibility standard
       is not akin to a “probability requirement,” but it asks for more than a sheer possibility
       that a defendant has acted unlawfully. Ibid. Where a complaint pleads facts that are
       “merely consistent with” a defendant’s liability, it “stops short of the line between
       possibility and plausibility of ‘entitlement to relief.’” Id., at 557 (brackets omitted).

               Two working principles underlie our decision in Twombly. First, the tenet
       that a court must accept as true all of the allegations contained in a complaint is
       inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of
       action, supported by mere conclusory statements, do not suffice. Id., at 555
       (Although for the purposes of a motion to dismiss we must take all of the factual
       allegations in the complaint as true, we “are not bound to accept as true a legal
       conclusion couched as a factual allegation” (internal quotation marks omitted)). Rule
       8 marks a notable and generous departure from the hyper-technical, code-pleading
       regime of a prior era, but it does not unlock the doors of discovery for a plaintiff
       armed with nothing more than conclusions. Second, only a complaint that states a
       plausible claim for relief survives a motion to dismiss. Id., at 556. Determining
       whether a complaint states a plausible claim for relief will, as the Court of Appeals
       observed, be a context-specific task that requires the reviewing court to draw on its
       judicial experience and common sense. 490 F.3d, at 157-158. But where the
       well-pleaded facts do not permit the court to infer more than the mere possibility of
       misconduct, the complaint has alleged — but it has not “show[n]” — “that the
       pleader is entitled to relief.” Fed. Rule Civ. Proc. 8(a)(2).

             In keeping with these principles a court considering a motion to dismiss can
      choose to begin by identifying pleadings that, because they are no more than
      conclusions, are not entitled to the assumption of truth. While legal conclusions can

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        Furthermore, whenever matters other than the pleadings are presented to, but

not excluded by the district court when ruling upon a defendant’s Rule 12(b)(6)

motion to dismiss a compliant for failing to state a claim upon which relief can be

granted, the motion normally “must be treated as one for summary judgment under

Rule 56,” and “[a]ll parties must be given a reasonable opportunity to present all the

material that is pertinent to the motion.” Fed. R. Civ. P. 12(d) (alterations supplied).

In other words, “[a] court is generally limited to reviewing what is within the four

corners of the complaint on a motion to dismiss.” Bickley v. Caremark RX, Inc., 461

F.3d 1325, 1329 n.7 (11th Cir. 2006) (alteration supplied).

        Even so, there are narrow exceptions to that general proposition. Indeed, the

Eleventh Circuit has held that a district court “may consider a document attached to

a motion to dismiss without converting the motion into one for summary judgment

if the attached document is (1) central to the plaintiff’s claim and (2) undisputed.”

Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (emphasis supplied). The term

“undisputed” is defined as meaning that “the authenticity of the document is not

challenged.” Id.

       provide the framework of a complaint, they must be supported by factual allegations.
       When there are well-pleaded factual allegations, a court should assume their veracity
       and then determine whether they plausibly give rise to an entitlement to relief.

Iqbal, 556 U.S. at 678-79 (emphasis supplied, second and fourth alterations in original, other
alterations supplied).

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       Here, the only documents outside the allegations of plaintiff’s Second

Amended Complaint that have been considered by this court are documents from

other court cases, and the authenticity of those documents cannot be disputed. See

United States v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994) (“[A] court may take

notice of another court’s order only for the limited purpose of recognizing the

‘judicial act’ that the order represents or the subject matter of the litigation.”); United

States v. Rey, 811 F.2d 1453, 1457 (11th Cir. 1987) (“A court may take judicial notice

of its own records and the records of inferior courts.”). Moreover, the other court

documents are central to plaintiff’s FCRA claim against Capital One, because that

claim concerns whether a judgment entered in state court was fairly reported.

                               II. RELEVANT FACTS

A.     Prior State Court Proceedings

       Plaintiff’s FCRA claim is based upon a state-court judgment that Capital One

obtained against him in the District Court of Madison County, Alabama, on

December 20, 2010 — now, more than seven years ago. The Alabama Court of Civil

Appeals described the circumstances leading to that judgment and its subsequent

disposition in Williams v. Capital One Bank (USA), N.A., 192 So. 3d 4 (Ala. Civ.

App. 2015), as follows:

              On December 20, 2010, Capital One filed a complaint against

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Williams in the district court, asserting that Williams owed $4,078.83
on an account stated between Capital One and Williams. On January 18,
2011, Capital One sought a default judgment against Williams for
failure to answer or otherwise defend against the complaint. On January
21, 2011, the district court entered a default judgment in favor of Capital
One in the amount of $4,078.83, plus court costs and postjudgment
interest.

       On September 14, 2011, Williams filed in the district court an
“affidavit of status as secured party and creditor” in which he declared
himself a member of the “Sovereign People of the Free Republic of
Alabama” and sought the withdrawal of any “adverse information” from
his credit records and relief from the default judgment. On October 11,
2011, Williams filed in the district court a motion to dismiss, in which
he stated, among other things, that “[t]his notice is a trespass in
admiralty.” Williams also filed in the district court a “common law
copyright notice,” purporting to reserve rights regarding the copyright
and trademark of his name. On November 9, 2011, the district court
denied Williams’s motion requesting that the case be dismissed.

       On September 16, 2013, Williams filed in the district court an
independent action seeking to set aside the default judgment. In the
pleading initiating the action, Williams asserted, among other things,
that Capital One and Holloway [i.e., defendant Holloway & Moxley,
L.L.P., Capital One’s collection agency] had committed fraud upon the
court. Williams also asserted in his pleading, based on his assertion of
fraud upon the court, various claims against Capital One and Holloway,
and he sought damages in the amount of $128,000,000. On September
23, 2013, the district court entered an order that stated: “The Court
having lost jurisdiction in this matter, [Williams’s] MOTION TO SET
ASIDE is hereby DENIED.” On October 3, 2013, Williams filed a
“motion to reconsider — motion to amend complaint.” In that
postjudgment motion, Williams purported to amend his claims against
Capital One and Holloway, asserting fraud upon the court, to reduce the
requested amount of damages to $2,900, so that his claims would remain
within the district court’s jurisdiction. See Ala. Code 1975, § 12-12-
31(a) (providing that the district court has exclusive jurisdiction over all

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civil actions in which the matter in controversy does not exceed $3,000).
As argued by Capital One on appeal, Williams’s October 3, 2013,
postjudgment motion was denied by operation of law on October 17,
2013, pursuant to Rule 59.1(dc), Ala. R. Civ. P. On October 22, 2013,
Williams filed a document titled “addendum — motion to amend
complaint,” again seeking to set aside the default judgment based upon
fraud upon the court and, for the first time, citing Rule 60(b), Ala. R.
Civ. P. That motion was a successive postjudgment motion, however,
seeking substantially the same relief as Williams’s October 3, 2013,
motion; thus, that motion did not toll the time for taking an appeal. See
Green v. Green, 43 So.3d 1242, 1243-44 (Ala. Civ. App. 2009). On
November 1, 2013, the district court entered an order purporting to deny
Williams’s “motion to reconsider”; however, that order was a nullity
because the motion had already been denied by operation of law on
October 17, 2013. See Moragne v. Moragne, 888 So.2d 1280, 1282
(Ala. Civ. App. 2004); and Rule 59.1(dc).

       Williams filed an appeal to the circuit court on November 12,
2013. Capital One and Holloway filed a motion to dismiss the appeal
on the basis that the appeal had been untimely filed. On February 3,
2014, the circuit court entered an order granting the motion to dismiss.
Williams filed a postjudgment motion on February 28, 2014; that motion
was denied by the circuit court on April 10, 2014. Additionally, in the
circuit court’s April 10, 2014, order denying Williams’s postjudgment
motion, the circuit court awarded attorney’s fees in the amount of
$1,112.50 as a sanction against Williams, as requested by Capital One
and Holloway. Williams filed his notice of appeal to this court on May
15, 2014.

       Capital One argues on appeal that the circuit court lacked
jurisdiction and, therefore, that it properly dismissed Williams’s appeal
from the district court. This court outlined the appropriate standard of
review in M.E.W. v. J.W., 142 So. 3d 1168, 1171 (Ala. Civ. App. 2013):

      “‘The timely filing of a notice of appeal is a jurisdictional
      act.’ Rudd v. Rudd, 467 So. 2d 964, 965 (Ala. Civ. App.
      1985); see also Committee Comments to Rule 3, Ala. R.

                                   8
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            App. P. The question whether the mother’s appeal was
            timely and, thus, whether the circuit court acquired
            subject-matter jurisdiction over the mother’s appeal is a
            question of law; thus, we review de novo the dismissal of
            the mother’s appeal by the circuit court. See Banks v.
            Estate of Woodall, 129 So. 3d 294 (Ala. Civ. App. 2013);
            see also Ex parte Terry, 957 So. 2d 455 (Ala. 2006)
            (stating that a claim that a court lacks subject-matter
            jurisdiction presents a question of law, which an appellate
            court reviews de novo).”

             As discussed above, Williams’s October 3, 2013, postjudgment
      motion was denied by operation of law on October 17, 2013. “A notice
      of appeal from a judgment of a district court must be filed ‘within 14
      days from the date of the judgment or the denial of a posttrial motion,
      whichever is later.’ Ala.Code 1975, § 12–12–70(a).” McCaskill v.
      McCaskill, 111 So. 3d 736, 737 (Ala. Civ. App. 2012). Williams filed
      his notice of appeal to the circuit court on November 12, 2013, well over
      14 days following the denial by operation of law of his October 3, 2013,
      postjudgment motion. Thus, that notice of appeal was untimely, and the
      circuit court never acquired jurisdiction over Williams’s appeal. See
      Ryans v. State ex rel. Stoudmire, 963 So. 2d 95, 96 (Ala. Civ. App.
      2007). Although the circuit court properly dismissed Williams’s appeal,
      Williams proceeded to file a postjudgment motion from that dismissal,
      and the circuit court purported to deny that postjudgment motion and to
      award attorney’s fees as a sanction against Williams. Because the
      circuit court never obtained jurisdiction over Williams’s appeal,
      however, it lacked jurisdiction to entertain any further motions or
      pleadings. See Maclin v. Congo, 106 So. 3d 405, 408 (Ala. Civ. App.
      2012). Thus, the circuit court’s April 10, 2014, order is void. Id.

             Based on the foregoing, we affirm the circuit court’s judgment
      dismissing Williams’s action for lack of subject-matter jurisdiction,
      albeit with instructions to the circuit court to vacate its April 10, 2014,
      void order.

Williams v. Capital One Bank (USA), N.A., 192 So. 3d 4, 5-6 (Ala. Civ. App. 2015)

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(second alteration supplied, other alterations in original).

B.     Prior Proceedings in Federal Court

       Williams filed his first complaint in the United States District Court for the

Northern District of Alabama on August 1, 2013, while the state-court proceedings

described above still were pending.

       His first federal court complaint was assigned to Senior United States District

Judge Inge Prytz Johnson as Civil Action No. 5:13-cv-1431-IPJ, and asserted that

Capital One had “gone above & beyond all bounds of law & reasonableness by

bringing suit against [him] when no valid contract was presented to the court.”7

According to Williams, Capital One’s “reckless” behavior caused him to be denied

housing and job opportunities, defamed his character, and deprived him of his liberty

interests in violation of the Fifth Amendment to the United States Constitution.8

       Judge Johnson entered an order denying Williams’s motion for leave to

proceed in forma pauperis, and, dismissing his claims without prejudice on August

7, 2013. Judge Johnson concluded that the pleadings before her did not establish

jurisdiction on the basis of the parties’ diversity of citizenship, and that Williams’s


       7
        Doc. no. 1 (Complaint in Civil Action No. 5:13-cv-1431-IPJ), at 2 (alteration supplied).
Williams’s complaint also included a claim against the State of Alabama, but the State never
responded to the complaint, and the claims against the State were dismissed when Williams’s other
claims were dismissed.
       8
           Id. at 2-3.

                                               10
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reliance upon Federal Rule of Civil Procedure 60(b) did not create any independent

grounds for jurisdiction.9 Williams filed a “Motion to Reconsider – Motion to Amend

Complaint” on August 19, 2013, requesting leave to amend his complaint to remove

the reference to Rule 60(b) and to plead the existence of diversity jurisdiction.10

Judge Johnson denied that motion without further comment on August 22, 2013.11

       Williams commenced a second action against Capital One in this court on

November 7, 2014, and asserted claims for violations of the Truth In Lending Act

(“TILA”), 15 U.S.C. § 1601 et seq., the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 et seq.12 That case was assigned to United States District

Judge Madeline Hughes Haikala as Civil Action No. 5:14-cv-2173-MHH. Judge

Haikala entered an order that identified pleading deficiencies in Williams’s complaint


       9
           See doc. no. 3 (Order of Dismissal) in Civil Action No. 5:13-cv-1431-IPJ, at 1-2.
       10
            Doc. no. 4 in Civil Action No. 5:13-cv-1431-IPJ.
       11
            Doc. no. 5 in Civil Action No. 5:13-cv-1431-IPJ.
       12
           Doc. no. 1 (Complaint) in Civil Action No. 5:14-cv-2173-MHH. The complaint also
mentioned “Regulation AA (Unfair or Deceptive Acts or Practices),” but that regulation has been
repealed, and plaintiff did not actually assert a cause of action under the regulation. Williams’s
original complaint also asserted claims against an entity called “Holloway & Moxley LLP,” who
plaintiff identified as a debt collector, but Williams omitted those claims from his Amended
Complaint. See id. at ECF 2; doc. no. 7 (Amended Complaint), in Civil Action No. 5:14-cv-2173-
MHH. The original complaint also included claims against an entity called “Capital One
Management System,” but plaintiff later abandoned those claims. See doc. no. 1 (Complaint) in
Civil Action No. 5:14-cv-2173-MHH; doc. no. 23 (Motion to Withdraw Claims) in Civil Action No.
5:14-cv-2173-MHH; doc. no. 25 (Order Dismissing Claims Against Capital One Management
System) in Civil Action No. 5:14-cv-2173-MHH.

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on January 22, 2015, and instructed him on the manner of filing an amended

complaint that would correct those deficiencies.13 Williams filed an amended

complaint on February 9, 2015, asserting the same claims as the original complaint.14



         Capital One moved to dismiss Williams’s amended complaint,15 and Judge

Haikala entered an order on May 1, 2015, that partially granted the motion to dismiss

(i.e., dismissing all claims except Williams’s TCPA claim), and directing plaintiff to

file a Second Amended Complaint containing specific factual allegations to support

the remaining TCPA claim.16

         Before Williams filed a Second Amended Complaint, however, the case was

transferred to the United States District Court for the Northern District of Illinois as

part of a multi-district litigation (MDL) court.17 From what can be discerned from the

current record, it appears that the MDL proceedings were resolved in favor of Capital

One.18

C.       Allegations Against Capital One in the Instant Case


         13
              Doc. no. 6 (Order) in Civil Action No. 5:14-cv-2173-MHH.
         14
              Doc. no. 7 (Amended Complaint) in Civil Action No. 5:14-cv-2173-MHH.
         15
              Doc. no. 14 (Motion to Dismiss) in Civil Action No. 5:14-cv-2173-MHH.
         16
              Doc. no. 20 (Order) in Civil Action No. 5:14-cv-2173-MHH.
         17
              See doc. no. 30 (Transfer Order) in Civil Action No. 5:14-cv-2173-MHH.
         18
              Doc. no. 1 (Complaint), at ¶ 34.

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       In the present case, the third that has been filed in this court, Williams asserts

that Capital One intentionally, maliciously, and knowingly reported false or

inaccurate information to Equifax and other Credit Reporting Agencies, despite the

fact that Williams had disputed both the amount of the alleged debt and the existence

of any agreement obligating himself to pay a debt to Capital One.19 Although

Williams did not explicitly make this connection in his complaint, the court presumes

the disputed debt to which Williams refers is the $4,078.83 default judgment entered

in favor of Capital One by the District Court of Madison County, Alabama, on

January 21, 2011. Williams claims that the alleged debt actually was “charged off in

or around 2008 for approximately $2,300,” and that Capital One reported the debt to

Equifax and other credit reporting agencies without providing a copy of the “signed

effective cardholder agreement” memorializing the beginning of Williams’s business

relationship with Capital One in 2004.20

       Williams also alleges that Capital One “failed to conduct a proper

investigation” into his disputes, and failed to inform Equifax that the account was in

dispute.21 The alleged debt apparently still remains on Williams’s Equifax credit

       19
            Doc. no. 57 (Second Amended Complaint), at ¶¶ 20-21.
       20
            Id. at ¶¶ 30-31.
       21
           Id. at ¶ 22. See also id. at ¶ 23 (“Capital One Bank, a furnisher, failed to review all
relevant information provided with the dispute[s] by consumer Williams forwarded by Equifax.”)
(alteration in original), ¶ 25 (“Capital One Bank, a furnisher, failed to report the results of the re-
investigation to Equifax.”), ¶ 36 (“Capital One violated 15 U.S.C. § 1681s-2(b)(1)(D) that requires

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report,22 and he has been “denied gainful employment and/or looked upon in an

unfavorable light by Governmental Employer and Employer[s]” as a result.23 In

addition, he allegedly has suffered damages “in the form of an emotional application,

mental anguish, anger, anxiety, depression, headaches, worry, frustration, sleep

deprivation, stomach problems, humiliation, amongst other negative emotions; as

well as lost [sic] of enjoyment of life.”24

        Plaintiff asserts that he is a “consumer” as defined by the FCRA.25 He claims

that Capital One violated Section 1681s-2(b) of that Act, which is entitled “Duties of

furnishers of information upon notice of dispute,”26 and states, in pertinent part, that:

              After receiving notice pursuant to section 1681i(a)(2) of this title
        of a dispute with regard to the completeness or accuracy of any


‘if the investigation finds that the information is incomplete or inaccurate,’ the furnisher must ‘report
those results to all other consumer reporting agencies to which the person furnished the
information and that compile and maintain files on consumers on a nationwide basis.’” (emphasis
in original), ¶ 37 (“Capital One Bank failed to conduct a reasonable investigation upon notice of
dispute letter submitted by consumer, Williams, concerning a ‘re-investigation’ forwarded by
Equifax.”)
        22
         The other credit reporting agencies, Experian and TransUnion, deleted the alleged debt
from plaintiff’s credit report because they were unable to verify that Williams had entered into a
signed agreement with Capital One. Id. at ¶ 9.
        23
         Id. at ¶ 19 (alteration in original); see also doc. no. 57 (Second Amended Complaint), at
¶ 38 (“Defendant, Capital One Bank failure [sic] to conduct a proper and reasonable
investigation continued to furnish the false and inaccurate information to willfully,
intentionally and maliciously injure Plaintiff’s credit worthiness.”) (emphasis in original).
        24
             Id. at ¶ 73.
        25
             Id. at ¶ 81; see 15 U.S.C. § 1681a(c) (“The term ‘consumer’ means an individual.”).
        26
         The overall title for § 1681s-2 is “Responsibilities of furnishers of information to consumer
reporting agencies.” 15 U.S.C. § 1681s-2.

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      information provided by a person to a consumer reporting agency, the
      person shall —

                  (A) conduct an investigation with respect to the disputed
            information;

                   (B) review all relevant information provided by the
            consumer reporting agency pursuant to section 1681i(a)(2) of this
            title;

                   (C) report the results of the investigation to the consumer
            reporting agency;

                   (D) if the investigation finds that the information is
            incomplete or inaccurate, report those results to all other
            consumer reporting agencies to which the person furnished the
            information and that compile and maintain files on consumers on
            a nationwide basis; and

                   (E) if an item of information disputed by a consumer is
            found to be inaccurate or incomplete or cannot be verified after
            any reinvestigation under paragraph (1), for purposes of reporting
            to a consumer reporting agency only, as appropriate, based on the
            results of the reinvestigation promptly —

                  (i)     modify that item of information;

                  (ii)    delete that item of information; or

                  (iii)   permanently block the reporting of that item of
                          information.

15 U.S.C. § 1681s-2(b)(1).

                                III. DISCUSSION

      Capital One asserts that the FCRA claims asserted in Williams’s Second

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Amended Complaint are barred by the so-called “Rooker-Feldman doctrine,” and that

he accordingly failed to state a viable claim upon which relief can be granted.

A.    The Rooker-Feldman Doctrine

      As the Eleventh Circuit observed in Alvarez v. Attorney General for Florida,

679 F.3d 1257 (11th Cir. 2012), the Rooker-Feldman doctrine is based upon the

Supreme Court’s opinions in

      Rooker v. Fidelity Trust Co., 263 U.S. 413, 44 S. Ct. 149, 68 L. Ed. 362
      (1923), and District of Columbia Court of Appeals v. Feldman, 460 U.S.
      462, 103 S. Ct. 1303, 75 L. Ed. 2d 206 (1983). The doctrine is a
      jurisdictional rule that precludes the lower federal courts from
      reviewing state court judgments. Nicholson v. Shafe, 558 F.3d 1266,
      1270 (11th Cir. 2009). This is because “[28 U.S.C.] § 1257, as long
      interpreted, vests authority to review a state court judgment solely in
      th[e Supreme] Court.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp.,
      544 U.S. 280, 292, 125 S. Ct. 1517, 161 L. Ed. 2d 454 (2005). The
      Supreme Court recently has cautioned that “[t]he Rooker-Feldman
      doctrine . . . is confined to cases of the kind from which the doctrine
      acquired its name: cases brought by state-court losers complaining of
      injuries caused by state-court judgments rendered before the district
      court proceedings commenced and inviting district court review and
      rejection of those judgments.” Id. at 284, 125 S. Ct. 1517; see also
      Lance v. Dennis, 546 U.S. 459, 464, 126 S. Ct. 1198, 163 L. Ed.2d 1059
      (2006) (per curiam) (noting the “narrowness” of the Rooker-Feldman
      rule). We have since explained that the Rooker-Feldman doctrine
      operates as a bar to federal court jurisdiction where the issue before the
      federal court was “inextricably intertwined” with the state court
      judgment so that (1) the success of the federal claim would “effectively
      nullify” the state court judgment, or that (2) the federal claim would
      succeed “only to the extent that the state court wrongly decided the
      issues.” Casale v. Tillman, 558 F.3d 1258, 1260 (11th Cir. 2009) (per
      curiam) (internal quotation marks omitted).

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Alvarez, 679 F.3d at 1262-63 (emphasis supplied, alterations in original).

       Capital One asserts that Williams’s FCRA claim in this case is inextricably

intertwined with the state-court judgment entered against him in 2011, because the

claim is “based on a contention that [Williams] does not owe the state court

judgment.”27 Capital One supports that argument with citation to two unpublished

federal district court decisions: Franklin v. Dean, No. 2:11-CV-683-WKW, 2013 WL

1867105 (M.D. Ala. May 3, 2013); and Graham v. Tasa Group, Inc., No.

2:13-CV-00748-LSC, 2015 WL 875228 (N.D. Ala. Mar. 2, 2015).

       In the case filed in the Middle District of Alabama, the pro se plaintiff named

Nue Cheer Franklin allegedly owed a debt of $141.16 to the Alabama State

Employees Credit Union (“ASECU”). Franklin, 2013 WL 1867105, at *1. The

ASECU obtained a default judgment against Franklin in state court, and Richard C.

Dean, Jr., the attorney for ASECU, attempted to collect the judgment. Id. at *1-2.

Franklin sued Dean in federal district court, alleging that he committed multiple

violations of the Fair Debt Collection Practices Act, and two of those claims

proceeded to trial. Id. at *4. First, Franklin alleged that Dean violated 15 U.S.C. §

1692g(a), which requires debt collectors to send written notice of the debt to the

consumer within five days of initial contact with the consumer. Id. at *5. Franklin

       27
         Doc. no. 68 (Defendant’s Motion to Dismiss Second Amended Complaint), at 9 (alteration
supplied).

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also asserted that Dean violated 15 U.S.C. § 1692e, which prohibits a debt collector

from using “any false, deceptive, or misleading representation or means in connection

with the collection of any debt.” Id. at *5-6. The court noted that, in order to prevail

on either of her Fair Debt Collection Practices Act claims, Franklin would need to

demonstrate that there was a “debt,” which the Act defined as “any obligation or

alleged obligation of a consumer to pay money arising out of a transaction in which

the money, property, insurance, or services which are the subject of the transaction

are primarily for personal, family, or household purposes, whether or not such

obligation has been reduced to judgment.” Id. at *6; 15 U.S.C.A. § 1692a(5). The

district court found that Franklin’s first FDCPA claim was barred by the statute of

limitations, and the second failed on the merits. Franklin, 2013 WL 1867105, at *9.

Franklin argued that, because she had denied owing the underlying debt, any

collection efforts by Dean violated the FDCPA. But the court held that it could not

consider that argument, stating: “To the extent that Ms. Franklin asks this court to

undo the state district court’s default judgment against her and to decide whether she

owed the underlying debt, the court lacks subject matter jurisdiction to do so under

the Rooker-Feldman doctrine.” Id. at *8 (emphasis supplied). In finding that

Franklin was “a state-court loser by way of a state-court judgment,” the court clarified

that “a default judgment counts for purposes of Rooker-Feldman.” Id. (citing Jones

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v. Commonwealth Land Title Insurance Co., 459 F. App’x 808, 810 (11th Cir. 2012);

MSK EyEs Ltd. v. Wells Fargo Bank, National Ass’n, 546 F.3d 533, 539 (8th Cir.

2008)). The court also found that the state court default judgment was inextricably

intertwined with Franklin’s argument in her federal case because “[i]n attacking the

validity of the underlying debt in this lawsuit, Ms. Franklin essentially asks this court

to review the state-court judgment and give her relief denied in the state court.” Id.

at *9.

         Additionally, in the second case filed in this court as Graham v. Tasa Group,

Inc., No. 2:13-CV-00748-LSC, 2015 WL 875228 (N.D. Ala. Mar. 2, 2015), the

plaintiff, Roderick Graham, allegedly owed a debt to Tasa Group, Inc., and that

defendant had obtained a default judgment against Graham in state court. Id. at *1-2.

Graham filed a federal lawsuit against Tasa Group and three individuals who had

acted as the group’s agents for violating the FDCPA and the Racketeer Influenced

and Corrupt Organizations Act,18 U.S.C. § 1961 et seq. (“RICO”), and also alleging

state law claims for fraud, theft of property, and negligent and wanton hiring,

training, supervision and retention. Id. at *1. Specifically, Graham alleged that:

         (1) Tasa Group fraudulently entered into an agreement . . . ; (2) Tasa
         Group engaged in theft when it took money from him without providing
         what he believes he was entitled to in return . . . ; (3) Tasa Group
         violated the FDCPA by attempting to collect on a debt that is not
         properly owed . . . ; and (4) Tasa Group violated the RICO statute by

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      engaging in a scheme to fraudulently enter into an agreement relating to
      expert witness services and engaging in a scheme to collect money not
      lawfully owed . . . .

Id. at *9 (emphasis and ellipses supplied). United States District Judge L. Scott

Coogler held that the Rooker-Feldman doctrine barred all of those claims. Id. at *7.

The bases for his judgment were as follows.

      First, Graham was a “state court loser” because of the default judgment entered

against him. Id. (“The default judgment taken against Graham counts for purposes

of Rooker-Feldman.”) (citing MSK EyEs Ltd., 546 F.3d at 539; Ballyhighlands, Ltd.

v. Bruns, 182 F.3d 898, *2 (2nd Cir. 1999); Jones, 459 F. App’x at 810).

      In addition, Judge Coogler found that

             Graham’s federal RICO and FDCPA claims are “inextricably
      intertwined” with the judgment entered by the Pennsylvania court, i .e.,
      that Graham owes Tasa Group the underlying debt, in the sense that they
      are premised on the state court having ruled erroneously. In other
      words, this Court can not decide in Graham’s favor on these federal
      claims unless it decides that the Pennsylvania court erred in its
      judgment. Moreover, if the Pennsylvania court had not ruled against
      Graham, the portion of Graham’s RICO and FDCPA claims premised on
      Tasa Group’s attempts to collect the debt based on the default judgment
      would cease to exist. Thus, again, the only way this Court could find
      that these attempts to collect the debt could have injured Graham is by
      finding that the state court ruled erroneously. As such, this Court is
      without subject matter jurisdiction to entertain Graham’s two federal
      claims. See Franklin v. Arbor Station, LLC, 549 F. App’x 831, 833 (11th
      Cir. 2013) (in case where apartment complex brought an unlawful
      detainer action and won a judgment of possession against plaintiff in
      state court and plaintiff then brought FDCPA claims in federal court,

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      affirming district court’s dismissal of plaintiff's FDCPA claims on
      Rooker-Feldman grounds because ruling in plaintiff’s favor on any of
      those claims would necessitate a finding that the state court’s decision
      was erroneous); Figueroa v. Merscorp, Inc., 766 F. Supp. 2d 1305,
      1316-27 (S.D. Fla. 2011) (dismissing a RICO claim under Rooker-
      Feldman, where plaintiff sought to attack a state foreclosure judgment,
      because the RICO claims were inextricably intertwined with that
      foreclosure judgment), affirmed 477 F. App’x 558 (11th Cir. 2012).

Graham, 2015 WL 875228, at *10.

      While the Franklin and Graham decisions establish that the default judgment

entered against the plaintiff in the present action can be considered a prior state court

judgment for purposes of the Rooker-Feldman doctrine, they do not lead to the

conclusion that the Rooker-Feldman doctrine bars all claims in federal court for

violation of the Fair Dept Collection Practices Act or Fair Credit Reporting Act that

are based upon the collection or reporting of an underlying state court. Instead, the

distinction to be made is

      between FDCPA claims seeking to overturn state court judgments and
      FDCPA claims seeking to hold defendants liable for violations of the
      statute occurring during collection efforts preceding any judgment. See,
      e.g., Solis v. Client Servs., Inc., No. 11-23798-Civ, 2013 WL 28377, at
      *4 (S.D. Fla. Jan. 2, 2013) (“Thus, even where a debtor has incurred a
      valid debt that a creditor is entitled to collect, a debt collector may
      violate the FDCPA if its methods in attempting to collect the debt do not
      comply with the requirements of the FDCPA. Such a violation may
      occur despite the validity of the debt and in no way is dependent upon
      the legitimacy of the debt.”); Drew v. Rivera, No. 1:12-cv-9-MP-GRJ,
      2012 WL 4088943, at *3 (N.D. Fla. Aug. 6, 2012), adopted by, Drew v.
      Rivera, No. 1:12-cv-9-MP-GRJ, 2012 WL 4088871, at *1 (N.D. Fla.

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Sept. 27, 2012) (“The fact that a state court judgment was entered
recognizing the credit card debt is not mutually exclusive to claims that
a debt collector violated the FDCPA in seeking to collect on the
indebtedness or violated the FDCPA in attempting to collect on the state
court judgment that was entered. Thus, the Court would not be
overturning the state court’s judgment, which concluded that the debt
was enforceable, if it were to find Defendant liable for unfair debt
collection practices.”). In other words, if an “allegation is premised on
[d]efendants’ conduct and practices in collecting the debt, [and] not the
validation or legitimacy of the debt itself, it is not precluded by the
Rooker-Feldman doctrine.” Solis, 2013 WL 28377, at *5; see also
Velardo v. Fremont Inv. & Loan, 298 Fed. Appx. 890, 892 (11th Cir.
2008) (“[T]he court focuses on the federal claim’s relationship to the
issues involved in the state court proceeding, instead of on the type of
relief sought by the plaintiff.” (citation omitted)).

       This approach is consistent with the law in other circuits. See,
e.g., Snyder v. Daniel N. Gordon, P.C., No. C11-1379 RAJ, 2012 WL
3643673, at *8 (W.D. Wash. Aug. 24, 2012) (“[Plaintiff] does not ask
this court to invalidate or reject the [state] court’s action. She does not
deny that she owes American Express a debt, as the [state] court ruled
she does. She does not complain of any injury she suffered because of
the [state] court’s judgment against her. She instead complains of the
steps Defendants took in their attempts to collect the debt. The court
therefore holds that the [state] court judgment against [Plaintiff] does
not preclude her from bringing the claims she made in this case.”);
Bradshaw v. Hilco Receivables, LLC, 765 F. Supp. 2d 719, 727 n. 7 (D.
Md. 2011) (“In the present case, the Rooker-Feldman doctrine is not
implicated — Plaintiffs are not attempting to appeal unfavorable state
court decisions, and this Court’s holdings will not disturb any
underlying state actions. . . . [R]egardless of the legality of any state
court collection lawsuits filed by [the defendant], the individual
plaintiffs are entitled to damages as a result of [the defendant’s] failure
to obtain a license under Maryland and federal law.”); Foster v. D.B.S.
Collection Agency, 463 F. Supp. 2d 783, 798 (S.D. Ohio 2006)
(“Plaintiffs’ alleged injuries here are not the result of the state court
judgments themselves, but rather from the allegedly illegal practices

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       Defendants used to obtain those state court judgments. Plaintiffs’ claims
       arose prior to the various entries of default judgment in state court, and
       . . . they are separate and distinct from those judgments.” (citation
       omitted)).

Collins v. Erin Capital Management, LLC, 991 F. Supp. 2d 1195, 1203-04 (S.D. Fla.

2013). See also Rumbough v. MidFirst Bank, No. 607CV1352ORL22DAB, 2008 WL

11336713, at *3 (M.D. Fla. Feb. 4, 2008) (holding that, while Rooker-Feldman would

bar the federal plaintiff’s request for an injunction to prevent a state foreclosure sale,

it would not bar a claim that a creditor violated the FCRA by repeatedly and willfully

issuing false consumer credit reports concerning the plaintiff, and by failing to

investigate the plaintiff’s disputes regarding the debt).

       Without question, the plaintiff in the present action has stated his belief that the

default judgment entered against him in state court is meritless.28 Even so, his actual

claim against Capital One is based upon Capital One’s alleged failures to conduct an

appropriate re-investigation of his claim, and to appropriately report the results of the

       28
          See doc. no. 57 (Second Amended Complaint), at ¶ 20 (“Capital One Bank willfully,
intentionally, maliciously, and knowingly reported false or inaccurate information to Equifax and
other CRA’s . . . .”), ¶ 21 (“The inaccuracies include, but are not limited to, the ‘amount’ of the
alleged debt reported and lack of signed effective agreement copyrighted 2004.”), ¶ 31 (“Defendant
Capital One Bank reported to the credit reporting agencies, like Equifax, Experian, and TransUnion
$4,078.83, an inaccurate amount owed without providing signed effective cardholder agreement
copyrighted 2004.”), ¶ 38 (“Defendant, Capital One Bank . . . continued to furnish the false and
inaccurate information . . . .”), ¶ 45 (“Capital One Bank was provided with more than sufficient
information in the dispute and in their own internal sources of information to conduct an
investigation and to conclude that the account complained of was factually inaccurate, incomplete
or could not be verified.”), ¶ 64 (“Defendant Capital One failed to refrain from continuing to submit
information that it knows (or should know) is incorrect.”).

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re-investigation to consumer reporting agencies. That claim challenges Capital One’s

actions and inactions with regard to the reporting of Williams’s debt, but it does not

challenge the validity of the debt itself. Accordingly, success on Williams’s FCRA

claim in this case would not “effectively nullify” the state court default judgment, nor

is it true that Williams’s federal claims can succeed only to the extent that the state

court wrongly decided the issues before it. See Alvarez, 679 F.3d at 1263. Because

Williams’s FCRA claim is not inextricably intertwined with the state court default

judgment, the Rooker-Feldman doctrine does not bar the claim.

B.    Failure to State a Viable Claim Under the FCRA

      Despite the foregoing conclusion, Capital One also argues that Troy Williams

has not stated a viable claim under 15 U.S.C. § 1681s-2(b), which governs the

“[d]uties of furnishers of information upon notice of dispute.” 15 U.S.C. § 1681s-

2(b) (alteration supplied).    The term “funisher of information” is not explicitly

defined by the FCRA, “but ‘is generally understood to include various types of

creditors, such as banks and other lenders, that provide credit information about their

customers to other entities that issue consumer reports about the customers’ credit

worthiness.’” Hillerson v. Green Tree Servicing, LLC, No. 8:14-CV-1038-T-23MAP,

2014 WL 5439593, at *1 n.1 (M.D. Fla. Oct. 24, 2014) (quoting Collins v. BAC Home

Loans Servicing LP, 912 F. Supp. 2d 997, 1009 n. 2 (D. Colo. 2012)).

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        Capital One undisputably is plaintiff’s creditor, but it nevertheless asserts that

it is not a “furnisher of information” within the meaning of the statute, because it was

not the party who notified Equifax of the default judgment against plaintiff. That

argument is supported by the statutory language. Section 1681s-2(b) sets forth the

duties of a “person” after that “person” receives notice of a dispute “with regard to

the completeness or accuracy of any information provided by [that] person to a

consumer reporting agency.” 15 U.S.C. § 1681s-2(b)(1) (alteration supplied).29 See

also West v. JP Morgan Chase, No. 3:17-CV-01450, 2017 WL 5624496, at *3 (M.D.

Tenn. Nov. 22, 2017) (“Although the statute does not expressly define the term

‘furnishers of information,’ the statute delineating such furnishers’ duties implies that

a furnisher of information is any entity that provides information ‘relating to a

consumer’ to any consumer reporting agency.”).

        According to plaintiff’s Equifax credit report, a copy of which was attached to

the affidavit he submitted in support of his Second Amended Complaint, Equifax

obtained information about the default judgment “from local, state and federal courts

through a third party vendor, LexisNexis.”30 Because LexisNexis, and not Capital

        29
           The FCRA defines the term “person” as “any individual, partnership, corporation, trust,
estate, cooperative, association, government or governmental subdivision or agency, or other entity.”
15 U.S.C. § 1681a(b).
        30
           Doc. no. 58 (Plaintiff’s Affidavit), at ECF 17 (Equifax credit report) (emphasis supplied).
It is appropriate to consider the Equifax credit report, because it was attached to the affidavit plaintiff
submitted in support of his Second Amended Complaint and, therefore, the authenticity of the

                                                    25
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One, provided Equifax with the information about Capital One’s judgment against

plaintiff, Capital One cannot be considered a “furnisher of information” for the

purposes of plaintiff’s FCRA claim, and it cannot be held responsible for failure to

follow any of the investigatory and reporting procedures set forth in 15 U.S.C. §

1681s-2(b)(1). Cf. Donohue v. C. Blosenski Disposal Co., No. 05-5356, 2006 WL

3423888, at *1 (E.D. Pa. Nov. 28, 2006) (holding that a creditor who provided

information regarding a past due debt to a collection agency, instead of a consumer

reporting agency, was not a “furnisher of information” under the FCRA).31

                             IV. CONCLUSION AND ORDER

        In accordance with the foregoing, the court concludes that it possesses subject

matter jurisdiction to consider plaintiff’s Fair Credit Reporting Act claim against

Capital One. Even so, plaintiff has failed to state an FCRA claim upon which relief

can be granted. Accordingly, Capital One’s motion to dismiss plaintiff’s Second

Amended Complaint is GRANTED, and all claims asserted against Capital One are

document cannot reasonably be disputed. See Financial Security Assurance, Inc. v. Stephens, Inc.,
500 F.3d 1276, 1284 (11th Cir. 2007) (holding that it is appropriate to consider a document attached
to a motion to dismiss when “a plaintiff refers to a document in its complaint, the document is
central to its claim, its contents are not in dispute, and the defendant attaches the document to its
motion to dismiss”).
        31
          Despite plaintiff’s assertion to the contrary, it is irrelevant whether plaintiff has any ability
to control the sources from which Equifax obtains its information. See doc. no. 72 (Plaintiff’s Brief),
at 8 (asserting that plaintiff “has no control over what was sent to him by Equifax as it relates to his
credit report, nor does plaintiff have control over who Equifax uses as a ‘intermediary-[Lexis-Nexis]’
to obtain such information reported”) (alteration in original). Because the information did not, in
fact, come from Capital One, Capital One is not a “furnisher of information.”

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DISMISSED with prejudice. Plaintiff’s claims against Equifax remain pending.

      DONE and ORDERED this 8th day of January, 2018.



                                           ______________________________
                                           United States District Judge




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